     Case 3:24-cv-06917-AMO         Document 37      Filed 10/30/24    Page 1 of 8




     Michael M. Maddigan (Bar No. 163450)
 1
     michael.maddigan@hoganlovells.com
 2   HOGAN LOVELLS US LLP
     1999 Avenue of the Stars, Suite 1400
 3   Los Angeles, CA 90067
     Telephone: (310) 785-4600
 4
     Jiaxing (Kyle) Xu (Bar No. 344100)
 5
     kyle.xu@hoganlovells.com
 6   HOGAN LOVELLS US LLP
     4 Embarcadero Center, Suite 3500
 7   San Francisco, CA 94103
     Telephone: (415) 374-2300
 8
     Neal Kumar Katyal, pro hac vice
 9
     neal.katyal@hoganlovells.com
10   Anna Kurian Shaw, pro hac vice
     anna.shaw@hoganlovells.com
11   Lauren Cury, pro hac vice
     lauren.cury@hoganlovells.com
12   Hadley Dreibelbis, pro hac vice
13   hadley.dreibelbis@hoganlovells.com
     HOGAN LOVELLS US LLP
14   555 Thirteenth Street NW
     Washington, D.C. 20004
15   Telephone: (202) 637-5600
16   Attorneys for Defendants Automattic Inc. and
17   Matthew Charles Mullenweg

18
                         IN THE UNITED STATES DISTRICT COURT
19                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
20
     WPENGINE, INC., a Delaware corporation,        Case No. 3:24-cv-06917-AMO
21

22                  Plaintiff,                      DEFENDANTS AUTOMATTIC INC. AND
                                                    MATTHEW CHARLES MULLENWEG’S
23         vs.                                      REQUEST FOR JUDICIAL NOTICE IN
                                                    SUPPORT OF MOTION TO DISMISS
24   AUTOMATTIC INC., a Delaware
     corporation; and MATTHEW CHARLES               Judge: Hon. Araceli Martinez-Olguin
25
     MULLENWEG, an individual,
26                                                  Courtroom: 10
                    Defendants.
27

28
                                                                  Case No. 3:24-cv-06917-AMO
           DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS
     Case 3:24-cv-06917-AMO            Document 37      Filed 10/30/24      Page 2 of 8




 1                               REQUEST FOR JUDICIAL NOTICE
 2         Defendants respectfully request that the Court take judicial notice of the following exhibits,
 3 in support of Defendants’ Special Motion to Strike Causes of Action 9, 10, and 11 of WP Engine’s

 4 Complaint. True and correct copies of which are attached hereto or referenced herein.

 5        Selected pages from the WP Engine website, available at:
 6                https://wpengine.com/headless-wordpress/ as it appeared on September 26, 2024
 7                 and October 9, 2024, with emphasis added (Exhibits 1A and 1B);
 8                https://wpengine.com/wordpress-hosting/ as it appeared on September 26, 2024 and
 9                 October 2, 2024, with emphasis added (Exhibits 2A and 2B);
10                https://wpengine.com/plans/ as it appeared on September 26, 2024 and October 2,
11                 2024, with emphasis added (Exhibits 3A and 3B);
12                https://wpengine.com/woocommerce/ as it appeared on September 26, 2024 and
13                 October 9, 2024, with emphasis added (Exhibits 4A and 4B);
14                https://wpengine.com/ as it appeared on September 25, 2024 and October 03, 2024,
15                 with emphasis added (Exhibits 5A and 5B);
16                https://wpengine.com/blog/wp-engine-decode-2024-whats-next-in-modern-web-
17                 development/ as it appeared on October 29, 2024 (Exhibit 6);
18                https://wpengine.com/blog/decode-registration-open/ as it appeared on October 29,
19                 2024 (Exhibit 7); and
20                https://wpengine.com/blog/wp-engine-pledges-five-for-the-future/ as it appeared on
21                 October 29, 2024 (Exhibit 8).
22        Selected pages from the webpage for Trustpilot.com (www.trustpilot.com), including:
23                https://www.trustpilot.com/review/wpengine.co.uk as it appeared on October 30,
24                 2024 (Exhibit 9);
25                https://www.trustpilot.com/review/wpengine.com?sort-recency&stars=1 as it
26                 appeared on October 29, 2024 (Exhibit 10); and
27

28
                                             -1-                  Case No. 3:24-cv-06917-AMO
           DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS
     Case 3:24-cv-06917-AMO         Document 37        Filed 10/30/24    Page 3 of 8




 1              https://www.trustpilot.com/review/wpengine.com?sort=recency&stars=2 as it
 2               appeared on October 29, 2024 (Exhibit 11)
 3       Selected pages from the techcrunch.com website, including an article related to
 4        Silverlake’s investment in WP Engine, available at https://techcrunch.com/2018/01/04/wp-
 5        engine-a-managed-wordpress-platform-raises-250m-from-silver-lake/ as it appeared on
 6        October 29, 2024 (Exhibit 12).
 7       A news article from Bloomberg.com, available at
 8        https://www.bloomberg.com/news/articles/2018-01-04/silver-lake-takes-250-million-
 9        stake-in-austin-startup-wp-engine as it appeared on October 29, 2024. (Exhibit 13).
10       A copy of pages from the website of the Stack Overflow Blog, available at
11        https://stackoverflow.blog/2023/11/08/the-product-approach-to-open-source-communities/
12        as it appeared on October 29, 2024 (Exhibit 14).
13       A copy of pages from the Andreessen Horowitz website for an episode of the a16z podcast
14        entitled    “Learning     from      Open     Source      Communities,”      available    at
15        https://a16z.com/podcast/learning-from-open-source-communities/, as it appeared on
16        October 29, 2024 (Exhibit 15).
17       A copy of a Harvard Business Review digital article entitled “The Digital Economy Runs
18        On Open Source. Here’s How to Protect It.”, available from the Harvard Business Review
19        website at https://hbr.org/2021/09/the-digital-economy-runs-on-open-source-heres-how-to-
20        protect-it/ as it appeared on October 29, 2024 (Exhibit 16).
21       A copy of pages from the Community Signal website for a podcast episode entitled “When
22        Open Source Community Software is Brought By Private Equity,” available at
23        https://www.communitysignal.com/when-open-source-community-software-is-bought-by-
24        private-equity/ as it appeared on October 29, 2024 (Exhibit 17).
25       A New York Times guest essay entitled “Private Equity is Gutting America – and Getting
26        Away With It,” by Brenan Ballou, available on the New York Times website at
27

28
                                            -2-                  Case No. 3:24-cv-06917-AMO
          DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS
     Case 3:24-cv-06917-AMO         Document 37        Filed 10/30/24     Page 4 of 8




 1        https://www.nytimes.com/2023/04/28/opinion/private-equity.html/ as it appeared on
 2        October 29, 2024 (Exhibit 18).
 3       A copy of the article from The Hill entitled “How to make private equity serve the public
 4        good,” by Daniel J. Morrissey, as it appeared on October 29, 2024 (Exhibit 19).
 5       A copy of the Wired.com story entitled “Altruism Still Fuels The Web. Businesses Love
 6        To Exploit It,” by Keith Negley, available at https://www.wired.com/story/altruism-open-
 7        source-fuels-web-businesses-love-to-exploit-it/ as it appeared on October 29, 2024
 8        (Exhibit 20).
 9       A copy of the Ford Foundation research report entitled “Roads and Bridges: The Unseen
10        Labor Behind Our Digital Divide,” that appeared on the Ford Foundation website at
11        https://www.fordfoundation.org/work/learning/research-reports/roads-and-bridges-the-
12        unseen-labor-behind-our-digital-infrastructure/ as it appeared on October 29, 2024
13        (Exhibit 21).
14       An article on the WPTavern website entitled “Ford Foundation Publishes Non-Technical
15        White Paper on Open Source Software and the Challenges of Sustaining Digital
16        Infrastructure,” by Sarah Gooding, available at https://wptavern.com/ford-foundation-
17        publishes-non-technical-white-paper-on-open-source-software-and-the-challenges-of-
18        sustaining-digital-infrastructure as it appeared on October 29, 2024 (Exhibit 22).
19       An article on the WPTavern website entitled “Sustain Event Draws 100 Attendees to
20        Discuss the Sustainability of Open Source Software,” by Sarah Gooding, available at
21        https://wptavern.com/sustain-event-draws-100-attendees-to-discuss-the-sustainability-of-
22        open-source-software as it appeared on October 29, 2024 (Exhibit 23).
23       A copy of Sustain the Report, dated on June 19, 2017 and published by GitHub HQ (SF),
24        obtained from the website https://sustainoss.org/assets/pdf/SustainOSS-west-2017-
25        report.pdf on or about October 29, 2024 (Exhibit 24).
26

27

28
                                            -3-                  Case No. 3:24-cv-06917-AMO
          DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS
      Case 3:24-cv-06917-AMO            Document 37        Filed 10/30/24      Page 5 of 8




 1         A video recording by Ms. Michelle Ames dated May 7, 2019, obtained from the website
 2          https://wordpress.tv/2019/05/07/michelle-ames-keynote-address-the-care-and-feeding-of-
 3          the-wordpress-community-me-you-and-us/ (Exhibit 25).
 4         An article that appeared on the techradar.com website entitled “Why the founder of WP
 5          Engine is knee-deep in headless products,” available at
 6          https://www.techradar.com/news/why-the-founder-of-wp-engine-is-knee-deep-in-headless-
 7          products as it appeared on October 29, 2024 (Exhibit 26).
 8         An article from the website www.bizjournals.com entitled “Austin tech firm on fast growth
 9          track snags global engineering boss from SolarWinds,” available at
10          https://www.bizjournals.com/austin/news/2017/08/10/austin-tech-firm-on-fast-growth-
11          track-snags-global.html as it appeared on October 29, 2024 (Exhibit 27).
12         An article from The Texas Monthly entitled “The Power Issue: Heather Brunner Is
13          Championing Diversity in an Industry That Sorely Needs It,” available at
14          https://www.texasmonthly.com/articles/power-issue-heather-brunner-championing-
15          diversity-industry-sorely-needs/ as it appeared on October 29, 2024 (Exhibit 28).
16         A copy of the Business Wire article entitled “WP Announces Engine for Good,” on the
17          Business Wire website, available at
18          https://www.businesswire.com/news/home/20190627005209/en/WP-Engine-Announces-
19          Engine-for-Good as it appeared on October 29, 2024 (Exhibit 29).
20         A video recording of a portion of a livestream show, posted to ThePrimeTime YouTube
21          channel on September 26, 2024, entitled “The WordPress Situation Is Wild,” available
22          at https://www.youtube.com/watch?v=Gd8h_6vYPJ8 (Exhibit 30).
23                                              AUTHORITY
24          A.      Applicable Standard.
25          Judicial notice of a fact is proper where the fact is not subject to reasonable dispute
26 because it is: (1) generally known within the territorial jurisdiction of the trial court or (2) “can be

27 accurately and readily determined from sources whose accuracy cannot reasonably be questioned.”

28
                                               -4-                  Case No. 3:24-cv-06917-AMO
             DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS
      Case 3:24-cv-06917-AMO           Document 37         Filed 10/30/24      Page 6 of 8




 1 Federal Rule of Evidence (“Rule”) 201(b)(2). Courts are required to take judicial notice of facts if

 2 requested by a party and supplied with the necessary information. Rule 201(c)(2).

 3          B.      This Court May Properly Take Judicial Notice of Websites, News Articles,
 4                  Blog Posts, and Other Material in the Public Realm.
 5          Exhibits 1-30 consist of news articles, blog posts, reports, websites, transcripts of two podcast
 6 episodes, a videorecording of a talk given at WordCamp Buffalo 2019, and a YouTube video. The

 7 Court may take judicial notice of such material as an indication of information available in the public

 8 realm. See Unsworth v. Musk, No. 19-MC-80224-JSC, 2019 WL 5550060, at *4 (N.D. Cal. Oct. 28,

 9 2019) (citing Von Saher v. Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 960 (9th Cir.

10 2010)); In re Google Assistant Priv. Litig., 457 F. Supp. 3d 797, 813 (N.D. Cal. 2020) (taking judicial

11 notice of Google “blog post for the fact that Google made the statements it contains”); Greenfield

12 MHP Assocs., L.P. v. Ametek, Inc., 145 F. Supp. 3d 1000, 1007 (S.D. Cal. 2015) (noting “[p]ress

13 coverage and news articles are [] judicially noticeable” and taking judicial notice of newspaper

14 articles).

15          Similarly, district courts routinely have found judicial notice proper over publicly available
16 websites. Loomis v. Slendertone Distrib., Inc., 420 F. Supp. 3d 1046, 1062-63 (S.D. Cal. 2019)

17 (taking sua sponte judicial notice of the printouts from Defendant’s website and its Amazon.com

18 listing). See also Perkins v. LinkedIn Corp., 53 F. Supp. 3d 1190, 1204 (N.D. Cal. 2014) (noting
19 that publicly available websites are proper subjects of judicial notice); Caldwell v. Caldwell, No. C

20 05-4166 PJH, 2006 WL 618511, at *3 (N.D. Cal. Mar. 13, 2006) (finding websites as proper subjects

21 of judicial notice but denying the request for judicial notice where the parties did not supply the

22 Court with copies of the website and the parties failed to agree on the content of the website); Wible

23 v. Aetna Life Ins. Co., 375 F. Supp. 2d 956, 965 (C.D. Cal. 2005) (granting judicial notice over two

24 Amazon.com webpages); Castagnola v. Hewlett-Packard Co., C 11-05772 JSW, 2012 WL 2159385

25 (N.D. Cal. June 13, 2012) (taking judicial notice of screenshots of Defendant’s webpages where

26 plaintiffs did not dispute the accuracy or the authenticity).

27

28
                                              -5-                  Case No. 3:24-cv-06917-AMO
            DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS
     Case 3:24-cv-06917-AMO            Document 37       Filed 10/30/24      Page 7 of 8




 1          In addition, WP Engine’s Complaint “relies on and references” Exhibits 6 and 7, WP
 2 Engine press releases regarding its DE{CODE} conference, and Exhibit 8, a WP Engine press

 3 release announcing its Five for the Future pledge, making them “appropriate for incorporation by

 4 reference” as well. Bernier v. Travelers Prop. Cas. Ins. Co., No. 17cv1028-MMA (BLM), 2017

 5 WL 5843396, at *2 (S.D. Cal. Nov. 29, 2017); see Compl. ¶¶ 25, 26 (discussing “[WP Engine’s]

 6 developer conference, DE{CODE}” and WP Engine’s Five for the Future pledge). Indeed, the

 7 Ninth Circuit has explicitly “extended the ‘incorporation by reference’ doctrine to situations in

 8 which the plaintiff’s [defamation] claim depends on the contents of a document . . . and the parties

 9 do not dispute the authenticity of the document.” Knievel v. ESPN, 393 F.3d 1068, 1076–79 (9th

10 Cir. 2005) (considering web pages attached to a motion to dismiss under the incorporation by

11 reference doctrine and affirming dismissal of defamation claim).

12          For the same reasons, Exhibit 30, a portion of a livestream that was posted to YouTube, is
13 appropriate for incorporation by reference. WP Engine’s slander claim is premised on statements

14 Matt made during that livestream, Compl. ¶ 200, and the Complaint makes multiple references to

15 it. See id. ¶ 28, 64, 89. The YouTube video contained in Exhibit 30 contains the portion of the

16 livestream before Matt joined, which renders it cognizable on this motion. See Knievel, 393 F.3d

17 at 1076 (considering surrounding web pages that gave context to photograph of webpage attached

18 to complaint and explaining that a court must also take into account “‘all parts of the
19 communication that are ordinarily heard or read with [a statement].’”).

20                                            CONCLUSION
21          For all of the foregoing reasons, Defendants respectfully request that this Court grant their
22 request for judicial notice.

23

24

25

26

27

28
                                              -6-                  Case No. 3:24-cv-06917-AMO
            DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS
      Case 3:24-cv-06917-AMO       Document 37      Filed 10/30/24    Page 8 of 8




 1
     Dated: October 30, 2024                    Respectfully submitted,
 2
                                          By:   /s/Michael M. Maddigan
 3                                                 Michael M. Maddigan
 4                                              HOGAN LOVELLS US LLP
                                                  Michael M. Maddigan (Bar No. 163450)
 5
                                                  Neal Kumar Katyal, pro hac vice
 6                                                Anna Kurian Shaw, pro hac vice
                                                  Lauren Cury, pro hac vice
 7                                                Jiaxing (Kyle) Xu (Bar No. 344100)
                                                  Hadley Dreibelbis, pro hac vice
 8

 9                                                 Attorneys for Defendants Automattic Inc. and
                                                   Matthew Charles Mullenweg
10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
                                              -7-                  Case No. 3:24-cv-06917-AMO
            DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS
